             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                            AT GREENEVILLE




UNITED STATES OF AMERICA                     )
                                             )
v.                                           )     No. 2:08-cr-58
                                             )
SHAWN ANDERSON HILL                          )


                                    ORDER


            Pending before the court in this criminal case is the Magistrate

Judge’s report and recommendation [doc. 217] that the defendant’s motion to

dismiss Counts 1 and 2 of the superseding indictment for duplicity be denied. No

objections to the report and recommendation have been filed, and it is ripe for this

court’s consideration.

            This court has reviewed de novo the pleadings and the report and

recommendation, and hereby ADOPTS the report and recommendation in its

entirety. It is hereby ORDERED that the defendant’s motion to dismiss Counts 1

and 2 of the superseding indictment [doc. 200] is DENIED.


                                             ENTER:


                                                    s/ Leon Jordan
                                             United States District Judge




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